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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

 

ORLANDO DIVISION
UNITED STATES OF AMERICA
Vv. Case No. 6:19-cr-27-Orl-37LRH
JAIMI HAWKINS
VERDICT FORM

1. Count One of the Indictment:
As to the offense of theft of government property, in violation of
18 U.S.C. § 641,
We, the Jury, find the Defendant, Jaimi Hawkins:
Guilty A Not Guilty
2. Count Two of the Indictment:
As to the offense of false statement to a federal agency, in
violation of 18 U.S.C. § 1001,

We, the Jury, find the Defendant, Jaimi Hawkins:

Guilty t C Not Guilty
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SO SAY WE ALL, this ©\_ day of June, 2019.

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